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                                                May 7, 2024

VIA CM/ECF

Mr. Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place Suite 115
New Orleans, LA 70130

      RE:    Neese v. Becerra, No. 23-10078 (argued January 8, 2024)

Dear Mr. Cayce:

      We write pursuant to Rule 28(j) to inform the Court that on May 6, 2024, the
Department of Health and Human Services (HHS) promulgated a final rule regarding
Section 1557 of the Affordable Care Act, which will be effective as of July 5, 2024.
See HHS, Final Rule: Nondiscrimination in Health Programs and Activities, 89 Fed. Reg.
37522 (May 6, 2024) (Final Rule).

        The Final Rule reinforces the conclusion that the district court erred in several
respects in declaring unlawful the notice challenged in this litigation. For one, the
Final Rule confirms that plaintiffs face no credible threat of enforcement as required
to establish standing in this pre-enforcement context. The Final Rule makes clear that
nothing in Section 1557 “requires the provision of any health service” where a
provider “typically declines to provide the health service to any individual or where [it]
reasonably determines that such health service is not clinically appropriate for a
particular individual,” so long as the decision is not driven by “unlawful animus or
bias.” 89 Fed. Reg. at 37701 (quoting 45 C.F.R. § 92.206); see also id. at 37575
(explaining that “[t]here is no part of section 1557 that compels clinicians to provide a
service that they do not believe is medically appropriate for a patient or that they are
not qualified to provide”). As the government explained, Opening Br. 17-23, nothing
in the record suggests that plaintiffs’ intended conduct—i.e., not providing services to
transgender patients that they typically decline to provide or that they believe are
clinically inappropriate for particular individuals—constitutes proscribed gender-
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identity discrimination under Section 1557. In addition, the form, scope, and purpose
of the Final Rule demonstrate that the comparatively limited notice challenged here
lacks the “telltale signs” of having “direct or appreciable legal consequences” that
would render it reviewable final agency action. Arizona v. Biden, 40 F.4th 375, 388 (6th
Cir. 2022) (Sutton, J.) (quotation marks omitted).


                                        Sincerely,

                                        s/ David L. Peters
                                        David L. Peters
                                        U.S. Department of Justice
                                        Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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